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Anna M. Bronstein

379 W. Walnut Street 2315 Jim "6 PH 3: 02
Pasadena, CA91103 \ F_,i,_, `_\1 ` v `
Phone: abronst999@gmail.com UC£§‘[H;L'§ g»: RC'; fp ;“O"»)'§ 1

Email; 626-344-8450 . §§ m-;\~»;~‘l:u:s
11 Y: 11_11121._1__.__. ._

Defendant in Pro Se

IN THE UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

cv 1 5 - 000 912'¢-»024/@@{<

ANNA BRONSTEIN ease No. :
Plaintiff,
vERIFIEl) CoMPLAINT FOR
vs. DAMAGES, RESTITUTIoN, AND

INJUNCTIVE RELIEF

CITLMQRTGAGE, INC.; and DOES 1-

10 '“°I“S‘Ve. 1. vIOLATION OF CALIFGRNIA

D@f@ndants HOMEOWNER BILL OF RIGHTS;

2. VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT;

3. VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION ACT;

4. VIOLATION OF CALIFORNIA
CREDIT REPORTING AGENCY
ACT;

5. INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS; and

6. INJUNCTIVE RELIEF

DEMAND FOR TRIAL BY JURY

 

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COMES NOW Plaintiff, ANNA BRONSTEIN (“Plaintiff’) and for her Complaint

against Defendant CITIMORTGAGE, INC., and complain and allege as follows:
I. PARTIES`

l. Plaintiff ANNA BRONSTEIN (“ANNA”) is an individual, and at all relevant times a
resident of the county of Los Angeles.

2. Plaintiff is the sole owner of the residential real property commonly known as 379
W. Walnut St. Pasadena, CA 91103 (hereinafter, “Subj ect Property”), and more particularly
described as:

See Exhibit A

3. Plaintiff is informed and believes and thereon alleges at all times mentioned
herein, defendant ClTIl\/IORTGAGE, INC., (hereinafter referred to as “CITIMORTGAGE”) is
foreign limited liability company organized under the laws of the State of New York with its
principal office in the State of Missouri and at all relevant times, was doing business in Los
Angeles County, and the State of California.

4. Defendant DOES 1-100 are sued by their fictitious names pursuant to C.C.P.
§494. Their true names and capacities are unknown to Plaintiff.

5. Plaintiff believes that each fictitiously named Defendant DOE l-l 00 is a person
or entity who participated in, assisted, was retained by, or counseled by one of the other
Defendant’s herein in connection with the acts alleged herein of which Plaintiff complains. At all
times herein mentioned each defendant was an agent, officer, board member, servant, employee,
paitner, joint venturer of the other defendants and each of them and all times herein mentioned,
each defendant was acting within the course and scope of this relationship as an officer, board
member, agent, servant, employee, partner or joint venturer of the other defendants, and each of
them.

6. Defendants DOES l-lOO, inclusive, are sued under fictitious names. When their
true names and capacities are known, Plaintiff is informed and believes and thereon alleges that
each of these fictitiously named defendants is legally responsible, negligently or in some other
actionable manner, for the events and happenings hereinafter referred to and proximately thereby

caused the injuries and damages to Plaintiff as hereinafter alleged, or claims some right, title,

 

 

 

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estate, lien, or interest in the residence adverse to Plaintiff`s title. Said claims, constitute a cloud
on Plaintiffs title in property, and are a result therefrom unlawful or fraudulent acts that resulted
in injury to Plaintiff`s property.

II. JURISDICITON AND VENUE

7. Subject-matter jurisdiction for this Court exists: pursuant to 28 U.S.C. Section
1331, because this is an action brought by a consumer for violations of the Fair 'Debt Collection
Practices Act (hereinafter “FDCPA”) (any reference to the FDCPA or any party thereof
encompasses all relevant parts and subparts thereto) 15 U.S.C. §1692 et seq.

8. The Court has personal jurisdiction over Defendant because they specifically
engaged in conduct injurious to Plaintiff Who is located in the county of Los Angeles, California,
and Defendant did this with the full knowledge that Plaintiff was and is in the state of California
and county of Los Angeles, California, and that their actions would cause injury to Plaintiff in
the state of California.

9. Plaintiff is a residents of Los Angeles County, California. Plaintiff’ s home which
is the subject of this litigation, is in Los Angeles County, Califomia, and Defendant regularly
conduct business in this district Each Defendant is, upon information and belief, operates in
California and routinely does business in county of Los Angeles, California.

10. Venue is proper in the United States District Court for the District of California
pursuant to U.S.C. section 1391. Venue lies in the unofficial Central Division of this Court.

III. INTRODUCTION

11. Plaintiff is proceeding, pro se in this case. Therefore, this Court must construe this
claim liberally and hold it to a less stringent standard than the Court would apply to a pleading
drafted by a lawyer. See, Laber v. Harvey, 438 F.3d 404, 413 n. 3 (4th Cir. 2006).

(a) In Pz'cking, the plaintiff’s civil rights were 150 pages long and described by a
Federal Judge as “inept.” The Court held that Where a plaintiff pleads pro-se in a suit for
protection of civil rights, the court should endeavor to construe plaintiffs pleading without
regard to technicalities Pz`ckz'ng v. Pennsylvania Railway, ( 151 F2d. 240) (N.J. is in 3r Cir.),
Third Circuit Court of Appeals.

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l (b) In Walter Process Equipmem‘ v. Food Machinery, 382 U.S. 172 (1965) it was held
that in a “motion to dismiss, the material allegations of the complaint are taken as admitted.”

3 F rom this vantage point, courts are reluctant to dismiss complaints unless it appears the plaintiff
4 can prove no Set of facts to support of his claim which would entitle him to relief. (See, Conley

5 vs. Gibson, 335 U.S. 41 (1957).

6 12. Moreover, Plaintiffs claim that statements of counsel in motion,7 briefs or in oral

7 arguments are not facts before this Court. (See, Trz`nsey v. Pagliaro, 229 F. Supp. 647).

8 13. Plaintiff in this action is a victim of unlawful acts perpetrated by Defendant, in

efforts to unlawfully foreclose on Plaintiffs property. In doing so, Defendant has made
10 ,

ll numerous violation of the FDCPA, Rosenthal Fair Debt Collection Practices Act (“RFDCPA”),

12 Cal. Civ. §1788, California’s Homeowner Bill of Rights, and the California Credit Reporting
13
14 k Agency Act (“CCRAA”).
15 IV. DEFINITIONS
1 6

14. Under the FDCPA 15 U.S.C. § 1692a(4) the term “creditor” means any person
17

18 who offers or extends credit creating a debt or to whom a debt is owed, but such term does not

19 include any person to the extent that he receives an assignment or transfer of a debt in default
20
21 solely for the purpose of facilitating collection of such debt for another.
22 15. Under the FDCPA 15 U.S.C. § 1692a(5) the term “debt” means any obligation
23 n n l o o o n
or alleged obligation of a consumer to pay money arising out of a transaction in which the
2 4
25 money, property, insurance or services Which are the subject of the transaction are primarily for

2 6 personal, family, or household purposes, whether or not such obligation has been reduced to

27 judgment

28 16. Under the FDCPA 15 U.S.C. § 1692a(6) the term “debt collector” means any

 

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Plaintiffs Verified Complaint

 

 

 

 

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person Who uses any instrumentality of interstate commerce or the mails in any business the
principal purpose of which is the collection of any debts, or who regularly collects or attempts to
collect, directly or indirectly, debts owed or due or asserted to be owed or due another.

17. Under the FDCPA 15 U.S.C. § 1692e - A debt collector may not use any false,
deceptive, or misleading representation or means in connection with the collection of any debt.
18. Under the FDCPA 15 U.S.C. § 1692f - A debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt.

19 . Under the FDCPA 15 U.S.C. § 1692i - (a) Any debt collector who brings any
legal action on a debt against any consumer shall -- (1) in the case of an action to enforce an
interest in real property securing the consumer's obligation, bring such action only in a judicial
district or similar legal entity in which such real property is located

V. GENERAL ALLEGATIONS

Plaintiff is informed and believes and therefore/alleges that:

20. This alleged debt was acquired by Defendant after it was in default, according to

FDCPA 15 USC 1692a(6), if a debt is acquired while in default the entity that acquires it is

considered to be a “debt collector.” This Statute makes no exception regarding the method of
acquisition of the debt, so therefore it would not matter if the alleged debt was acquired by or
through a successor in interest, of if they were able to provide a copy of the purchase assumption
agreement which specifically lists the alleged debt .

21. Plaintiff in this action is a victim of unlawful acts perpetrated by Defendant, in
efforts to unlawfully foreclose on Plaintiff’s property. According to the FDCPA, the only-
method of foreclosure that a debt collector can avail themselves to Would be a judicial

foreclosure, and even if Defendant was to prevail the judgment could only be for monetary

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compensation, 15 USC 1692i. In taking the actions Defendant has taken by illegally attempting
to foreclose on Plaintiffs real property through use of non-judicial foreclosure, Defendant has
made numerous violations of the FDCPA, Rosenthal Fair Debt Collection Practices Act
(“RFDCPA”), Cal. Civ. Code section 1788 and California Homeowner’s Bill of Rights.

22. Defendant is engaged in the collection of debts from consumers using the mail
and telephone. Defendant regularly attempts to collect debts alleged to be due to another. Under
the FDCPA 15 U.S.C. § 1692 a(6) the term “debt collector” means any person Who uses any
instrumentality of interstate commerce or the mails in any business the principal purpose of
which is the collection of any debts, or who regularly collects or attempts to collect, directly or
indirectly, debts owed or due or asserted to be owed or due another. Defendant here is a debt
collector under the FDCPA. Defendant is NOT a creditor or a lender.

23._ In addition, where a loan servicer becomes the loan servicer after the borrower is
in default, the loan servicer is a “debt collector” and becomes obligated to comply with the
FDCPA in all respects. See Sam‘oro v. CTC Foreclosure Serv. Corp. , 12 F. App’x. 476, 480 (9th
Cir. 2001); Kee v. R-G Crown Bank, 656 F. Supp. 2d 1348, 1354 (D. Utah 2009) (determining
‘that a loan servicer . is only a ‘debt collector’ within the meaning of the FDCPA if it acquires
the loan after it is in default’). See also Alibrandri v. Fin. 0utsourcing Servs., Inc. , 333 F.3d 82
(2d Cir. 2003) (holding that a debt Was in “default” and a service provider Was a “de,btco,l,l,ector,”
by virtue of the service providers collection letter declaring the debt in default and informing the
debtor that the service provide Was, in fact, a debt collector). Here, Defendant obtained the loan
after it was in default.

24. Federal courts have held that WFB must comply with the FDCPA. A Federal
District Court within the Ninth Circuit Court of Appeals (whose jurisdiction includes federal
couits in California) has held that Wells Fargo Bank, N.A. may be a debt collector required to
comply with the FDCPA. Willz`ams v. Wells Fargo Bank, N.A., Et al. , 2012 U.S. Dist. LEXIS

2871 (W.D. WA, January 12, 2012).

 

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25. In Williams, the consumers alleged Wells F argo Was in violation of federal debt
collection laws by failing to provide verification of the alleged debt 15 U.S.C. §1692, et Seq. In
their motion to have the lawsuit thrown out, Wells Fargo did not claim that the bank had
provided verification of the debt to the consumers Instead, the bank asserted two reasons the 5
case should be dismissed First, WFB argued it was not a debt collector under the FDCPA. The
bank argued that the FDCPA only applies to “parties collecting the debt of another,” 15 U.S.C. §
1692(a)(6), and that "creditors, mortgagors and mortgage servicing companies are not ‘debt
collectors’ and are exempt from liability under the [FDCPA].” Id. (citing Caballero v. OCWEN
Loan Servz`cz'ng, 2009 U-.S. Dist.l LEXIS 45213, 2009 WL 1528128, at *1 (N.D. Cal. 2009) and
Glover v. Fremom ]nv. and Loan, 2009 U.S. Dist. LEXIS 117890, 2009 WL 6114001, at *8
(N.D. Cal. 2009)). Simply put, Wells F argo argued that because it was collecting its own debts it
was exempt from FDCPA liability. Second, Wells Fargo claimed that the FDCPA does not apply
in a non-judicial foreclosure proceeding Basically, the bank argued that when there is a typical
foreclosure on a deed of trust, (where there is no lawsuit filed by the bank), the bank is not
attempting to collect money, and thus they are not really attempting to collect a debt. In this case,
Defendant did not and has not verified the debt after Plaintiff has asked a numerous amount of
times.

26. The federal court disagreed with Wells Fargo on both grounds. The court
reasoned the term “debt collector” applies to those who acquired the debt when it was already in
default See Schlosser v. Fairbanks Capz'tal Corp., 323 F.3d 534, 536 (7th Cir. 2003). The Court
noted that Wells Fargo admitted the debt had already been in default for one year when the deed
of trust was assigned to Wells Fargo, and thus Wells Fargo met the definition of a debt collector
under the FDCPA. Next, the Court ruled on the issue of whether foreclosing on property could be
considered an attempt to collect a debt, and it stated: “Although the Court is aware of district
court cases that have held that the act of foreclosing on property is not “debt collection” under

the FDCPA, this Court has not adopted such a per se holding and it will not do so here. See

 

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Albers v. Natz`onstar Mortg. LLC, 2011 U.S. Dist. LEXIS 182, 2011 WL 43584, at *2 E.D.Wash.
Jan. 3, 2011) (citing cases). Nothing in the statute compels the Court to create an exception to the v
definition of “ debt collector,” as Wells F argo proposes, where a party is non-judicially
enforcing on a security instrument rather than pursuing debt collection through more traditional
means. To the contrary, courts have reasoned that as long as a defendant meets the statutory ~
definition of debt collector, “they can be covered by all sections of the Act . . regardless of
whether they also enforce security interests. ” Wilson v. Draper'& Gola’berg, P.L.L.C. , 443 F.3d
373, 378 (4th Cir. 2006) (referring to § 1692f(6) as an inclusive provision); See also Kaltenbach
v. Richards, 464 F.3d 524, 528-29 (5th Cir. 2005) (noting that “the entire FDCPA can apply to a
party whose principal business is enforcing security interests but who nevertheless fits §
1692a(6)’s general definition of debt collector”).

27. § Furthermore, Plaintiff is a “consumer” as that term is defined in 15
USC§l692a(3), and CA Code 1788.2(c), since the alleged debt here deals with the purchase of a
home, Which means it’s a debt incurred for_personal family purposes.

28. In addition, where a loan servicer becomes the loan servicer after the borrower is
in default, the loan servicer is a “debt collector” and becomes obligated to comply with the
FDCPA in all respects. See Santoro v. CTC Foreclosure Serv. Corp. , 12 F. App’x. 476, 480 (9th
Cir. 2001); Kee v. R-G Crown Bank, 656 F. Supp. 2d 1348, 1354 (D. Utah 2009) (determining
‘that a loan servicer . . . is only a ‘debt collector’ Within the meaning of the FDCPA if it acquires
the loan after it is in default’). See also Alibrana’ri v. Fz'n. Outsourcz`ng Servs., Inc., 3331F.3d 82
(2d Cir. 2003) (holding that a debt was in “default” and a service provider was a “debt collector,”
by virtue of the service providers collection letter declaring the debt in default and informing the
debtor that the service provider was, in fact2 a debt collector). j

29. Furthermore, Plaintiff is a “consumer” as that term is defined in 15
USC§1692a(3), and CA Code 1788.2(c) since the alleged debt here deals`With the purchase of a

home, Which means it’s a debt incurred for personal family purposes.

 

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30. Plaintiff does not have a contract With Defendant Therefore, Defendant has no

standing.

31. That collection of any alleged debt after having been written off or charged off
would be a case of unjust enrichment, and /or fraud on the consumer and/or fraud on the court

32. To the best of Plaintiff’ s knowledge and belief, Defendant has used the mails of
the United States to attempt to collect from Plaintiff an alleged debt purportedly previously
owed to an “original creditor,” other than Defendants, which has purportedly been “charged
of .”

33. Defendant has violated FDCPA, 15 U.S.C. §1692e, because it made and/or employed
false, deceptive and misleading representations and/or means in connection with the instant
cause of action. Said false, deceptive and misleading representations were and have been made
and are being made to credit reporting bureaus and others as more specifically set out hereafter.
Some or all of Said false, deceptive and misleading representations were knowingly and
intentionally made by Defendant

34. » Defendant has violated the FDCPA, 15 U.S.C. §l692d because it has engaged in
conduct of which the natural consequence of which is to harass, oppress, or abuse Plaintiff in
connection with the alleged attempt to collect on this debt and foreclosure of Plaintiff’ s
property. Defendant knowingly and intentionally engaged in harassing, oppressive, and/or
abusive conduct toward Plaintiff. Defendant knew or should have known that the natural
consequences of said conduct would be to harass, oppress, or abuse Plaintiff.

35. Plaintiff, here was deceived, and Defendant misrepresented themselves implying
they Were entitled to act as a Creditor, and have initiated a non-judicial foreclosure against the
Subj ect Property even though at no time did Defendant have any proof that Plaintiff owed them
any alleged debt

36. Defendant has violated the FDCPA, and is liable to Plaintiff for statutory, actual,

 

 

 

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and punitive damages'thereon, attorneys’ fees, and costs. Said violations include, but are
not limited to violations of 15 U.S.C. §1692e, et seq. and 15 U.S.C. §l692d, et seq. 3

37. Defendant has knowingly, intentionally, deliberately, and fraudulently
misrepresented, and/ or mislead what Plaintiff’s legal status, character, and/or amount of t
the alleged debt Was in violation of 15 U.S.C. §1692e(2), and in violation of
U.S.C.151692e(10). b

38. By attempting to collect on this alleged debt, Defendants falsely,
knowingly, deliberately, fraudulently, and intentionally misrepresented to Plaintiff and all
other persons having or acquiring knowledge of the actions of Defendant against Plaintiff,
including credit reporting bureaus, and persons or entities'Plaintiff might seek to obtain
credit from, present or future potential employers of Plaintiff, and other persons and
entities that it has the legal right to pursue this account in this Court. Defendant’s actions
all constitute violations of the FDCPA and the Fair Business Practices Act.

39. . Defendants have not verified or produced: any accounting or financial
records, necessary to prove the breakdown of the purported “total” amount alleged to be
owed, With respect to its components, such as principal, interest, late fees, over limit fees,
etc. or their current license in the state of California to act as a debt collector.

VI. FIRST CLAIM FOR RELIEF
VIOLATION OF THE CALIFORNIA HOMEOWNER BILL OF RIGHTS

40. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set forth

herein.

41. Plaintiff is currently in loan modification negotiation with CITIMORTGAGE.

42. Plaintiff is informed and believes that CITIMORTGAGE and its agent Quality Loan
Sei'vices are dual tracking her non-judicial foreclosure and loan modification in violation of the
California Homeowner Bill of Rights. The letters provided to Plaintiff by CITIMORTGAGE

clearly show that Plaintiff is in modification negotiations see Exhibit B.

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l 43. Plaintiff has notified Quality Loan Service and CITIMORTGAGE that she is being
dual tracked for foreclosure while her loan modification negotiations are underway. Defendant
has a trustee sale date set on Plaintiff’ s horne for January 16, 2015 as evidenced by Exhibit C.

VII. SECOND CLAIM FOR RELIEF

6 vioLATIoN oF THE FEDERAL FAIR DEBT CoLLECTIoN PRACTICES ACT
(FDCPA), is U.s.C. § 1692 ETsEQ. ~

8 2 ~44. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set forth
9 herein.
10 45. ` Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6). '
ll 46. Plaintiff is a“consumer” as defined by 15 U.S.C. § 1692a(3).
12 47. Defendant has violated the FDCPA in connection with its attempts to collect an
1 3

account against Plaintiff. Defendant’s violations include, but are not limited to, 15 U.S.C. §
14 1692d, 1692e, 1692e(2)(A), 1695e(5), 1692e(8), 1692e(10),1692g 1692i.

15 48. Defendant engaged in conduct of which the natural consequence of which is to

16 harass, oppress, or abuse Plaintiff in connection with the collection of a debt;_ and Defendant

17 used false, deceptive, or misleading representations or means in connection with the collection of
18 a debt; supported by the unauthenticated assignment; and otherwise violated the FDCPA.

19 49. Further, there is no specific amount of value indicated on this assignment; even if
20 Defendant were to be able to provide an authenticated Power of Attorney. (Plaintiff wants to

21 reserve the right to petition the Notary’s log for authentication and validation.) An accounting

22 that is signed and dated by the person responsible for the account has not been produced. Claim
23 of damages, to be admissible as evidence, must incorporate records such as a general ledger and
24 accounting of the alleged debt, the person responsible for preparing and maintaining the account
25 general ledger must provide a complete accounting which must be sworn to and dated by the

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person who maintained the ledger. See Pacz'fic Concrete F.C. U. V. Kauanoe, 62 Haw. 334, 614
27 P.2d 936 (1980), GE Capital Hawaii, [nc. v. Yonenaka 25 P.3d 807, 96 Hawaii 32, (Hawaii App
28 2001), Fooks v. Norwz`ch Housl`ngAuthorily 28 Conn. L. Rptr. 371, (Conn. Super.2000), and
Town ofBrookfiela' v. Cana'lewooa’ Shores Estates, Inc. 513 A.2d 1218, 201 Conn.l (1986).

 

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50. Non-judicial foreclosure, attempting to seize property is a violation of FDCPA 15
USC 1692i. l

51. Failure to Validate alleged debt as required by 15 USC 1692g. s

52. Plaintiff alleges that Defendant routinely ignored, and through their actions
continued to violate FDCPA rules to enhance their own profits.

53. Defendant’s conduct was negligent or willful or both, rendering it liable for
attempting to collect fees, interest, and expenses from Plaintiff that are not authorized by any
agreement or permitted by law, in violation of 1692 f (1).

54. Defendant’s conduct was negligent or willful or both, rendering it liable for
failing to cease collection of an alleged debt, and not providing proper validation of the alleged
debt to Plaintiff, 1692 g (b).

55. As a result of the foregoing violations, Defendant is liable for actual damages,
including general damages 'and special damages in an amount to be proven at trial, but not less
than $2,000 per Plaintiff, pursuant to 15 U.S.C. §1692(k) a.1. d

56. As a result of the foregoing violations, Defendant is liable for actual damages,
including general damages and special damages in an amount to be proven at trial, but not less
than $l,OOO per Plaintiff, pursuant to 15 U.S.C. § 1692(k) a 2 a.

57. As a result of the foregoing violations, Defendant is liable for costs and
reasonable attorney’s fees pursuant to 15 U.S.C. § 1692(k) a 3.

58. As a result of the foregoing violations, Defendant should be enjoined from
employing any of the unlawful conduct, methods, acts, or practices under the FDCPA alleged
herein or proven at trial. `

59. An actual controversy has arisen and now exists between Plaintiff and Defendant
concerning their respective rights and duties under the FDCPA. A judicial declaration that
Defendant’s actions violated the FDCPA is necessary so that all parties may ascertain their rights
and duties under the law.

60. 'Based on the allegations above and further set forth herein, Defendant violated 15

 

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Plaintiffs Verified Complaint

 

 

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U.S.C. §1692d by engaging in conduct the natural consequence of which is to 'harass, oppre\ss, or
abuse Defendant by, without limitation; Continuing to pursue collection of disputed and
3 unverified debt; attempting to foreclose on Plaintiffs property; forcing Plaintiff to defend against
4 an invalid action, and further, and in addition thereto, knew or should have known that it has
engaged in such conduct, and the said consequences thereof.
7 6 61. Upon information and belief, Defendant has communicated credit information to
7 persons, including but not limited to credit reporting bureaus or agencies, with respect to
3 Plaintiff, which it knew or should have known to be false - including without limitation
9 allegations that Plaintiff owed the purported debt which is the subject of this action, and/or that
10 Plaintiff owes said debt to Defendants and/or that Defendants are the original creditor of said
1 1 alleged debt.
12 62. Upon information and belief, Defendant, is in violation of 15 U.S.C. §1692e(8),
13 because Defendant failed to communicate to Plaintiff, other persons and entities, including credit
14 `bureaus, and persons yet to be determined, that Plaintiff has disputed the alleged debt
13 63. An actual controversy has arisen and now exists between Plaintiff and Defendant
16 concerning their respective rights and duties under FDCPA. A judicial declaration pursuant to
17 Code of Civ. Procedure 1060 that Defendant’s actions violated the FDCPA is necessary so that
13 all parties may ascertain their rights and duties under the law.
1 9 64. By falsely representingthat Defendants are either an assignee of an original
20 creditor, and/or that said assignment constitutes a proper, competent, or valid assignment
21 between Defendant and the original creditor of any alleged debt by any alleged original creditor
22 to Defendant, and/or that Defendant is the original creditor, Defendant has made material, false
23 and misleading representations, and has further communicated to Plaintiff and other persons
24 credit information which is known or which should be known to be false, including the above,
25 the failure to communicate that a disputed debt is disputed, the “re-aging” of said debt, the false
2 6 _ and misleading representation and impression that Defendant is the original creditor of said debt,
27 and other material false and misleading representations, and has violated 15 U.S.C. §1692e, 15
23 U.S.C. §1692e(8), §1692e(2)(A), § 1692e(5), § 1692e(10) and § 1692f Defendant either knew or

should have known all of the above.

 

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Plaintiffs Verified Complaint

 

 

 

 

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65. Under the FDCPA 15 U.S.C. § 1692f - A debt collector may not use unfair or
unconscionable means to collect or attempt to collect any\debt; taking or threatening to take any
non-judicial action to effect dispossession or disablement of property if-_(A) there is'no present
right to possession of the property claimed as collateral through an enforceable security interest
ln Armacost v. HSBC Bank USA, No. 10-CV_0274-EJL-LMb, 2011 WL 825151 (D.A ldaho Feb. 9,
2011) the plaintiff generally alleged violations of 15 U.S.C. § 1692f and argued that defendant
did not have standing to foreclose on the deed of trust Defendant here also does not have
standing to foreclose.\ The court first noted that the definition of “debt collection” found in 15
U.S.C. § 1692a(6) included the following sentence: “For the purpose of section 1692f(6) of this
title, [a debt collector] also includes the principal purpose of which is the enforcement of security
interests.” Id. lt then explained that 15 U.S.C. § 1692f(6) prohibits a debt collector from “taking
or threatening to take any non-judicial action to effect dispossession or disablement of property
if (A) there is no present right to possession of the property claimed as collateral through an
enforceable security interest” ld. at n.5 (quoting 15 U.S.C. §1692f(6). The case stated, “if ‘debt
collection’ generally included the enforcement of a security interest, the language specifying so
for the purposes of §1692f(6) would be surplus, and such a construction would violate a ‘long
standing canon of statutory construction that terms in a statute should not be construed so as to
render any provision of that statute meaningless or superfluous.” Ia’. (quoting Beck`v. Prupis, 529
U.S. 494, 506 (2000)) (footnote omitted). The court thus concluded that while “a non-judicial
foreclosure action generally does not constitute a “debt collection activity” under the FDCPA,”
an exception to this rule existed for claims under 15 U.S.C. 1602f(6) Id. 1

66; The FDCPA, §1692k, provides for actual damages, statutory damages up to one-
thousand dollars ($1,000.00) per violation, costs of the action, and reasonable attorneys’ fees.

Plaintiff has suffered actual damages as the proximate and actual cause and result of the

violations of the FDCPA by Defendants to be determined at trial. Defendant is liable to Plaintiff

for statutory damages as prescribed by §1692k (a)(2)(A), actual damages pursuant to §

1692k(a)(1) in an amount to be determined at time of trial, and reasonable attorneys’ fees and

costs pursuant to §1692k(a)(3).

 

 

 

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Plaintiffs Verified Complaint

 

 

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67. y Courts will carefully scrutinize non-judicial foreclosures and set them aside if the
borrower’s rights have been violated Stirton v. Pastor (1960) 2 Ca1. Rptr. 135, 177 Cal. App. 2d
232.

68. Plaintiff hereby prays for actual damages under the FDCPA, and for statutory
damages as set forth above for each and every violation of the FDCPA proven at the trial of this

case, and reasonable attorneys’ fees and costs thereunder.

VIII. THIRD CLAIM FOR RELIEF
YIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES
ACT ,
(Cal. Civ. Code § 1788, et seq.)
69. Plaintiff re-alleges and incorporates by reference all the preceding paragraphs as

though fully set forth herein. b

70. Plaintiff is a consumer as set forth above and the alleged debt owed is a consumer
debt pursuant to the RFDCPA.

71. Defendant is a debt collector in the business of collecting debts.

72. Defendant is engaged in unfair collection practices in violation of the RFDCPA
by, inter alia:

A. Defendant proceeded to attempt to collect a debt that was not owed, using abusive
tactics, including repeatedly contacting Plaintiff through the mail.

B. Defendant demanded payment for an invalid debt.

C. By communicating and disclosing to credit bureaus Plaintiffs information without
Plaintiffs consent, and having the credit bureau’s issue negative marks against Plaintiff.

D. Defendants who are debt collectors have been communicating with Plaintiff and trying
to pass themselves off as creditors.

73. Defendant violated the RFDCPA, through their violations of 15 U.S.C. §§
1692(e) and (f) of the FDCPA, by making false or misleading representations in their unfair
attempts to collect an alleged debt from Plaintiff. 7

74. Defendant’s violations of the RFDCPA were intentional and/or malicious.

 

 

 

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Plaintiff’s Verified Complaint

 

 

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7 5. As a result of Defendants violationsof the RFDCPA by Defendant, Plaintiff is
entitled to actual and statutory damages, attorney’s fees and costs under California Civil Code

§1788.30, and such other relief as the court determines

IX. FOURTH CLAIM FOR RELIEF »
CALIFORNIA CONSUMER CREDIT REPORTING AGENCY

76. Plaintiff re‘-alleges and incorporates by reference all the preceding paragraphs as
though fully set forth herein.

77. Under the California Consumer Credit Reporting Agency (“CCCRA”) Cal. Civ.
Code §1785.25(a) provides that the furnisher “shall not” furnish credit information to “any credit
reporting agency if the person [fumisher] knows or should know the information is incomplete or
inaccurate.” Likewise, if a furnisher determines any previously reported information is
incomplete or inaccurate, it must update and correct that information so that is it “complete and
accurate.” Cal. Civ. Code §1785.25(b). So long as a consumer continues to dispute the credit
history or information, the furnisher must note or flag the existence of this dispute anytime it
furnishes credit information about that consumer. Cal. Civ. Code §1785.25(0).

78. Additionally, the CCRAA was amended to require that if a furnisher of
information receives a notice of dispute made pursuant to Cal. Civ. Code §1785.16(a), it then
owes a duty to (1) “review relevant information” submitted to it; (2) “complete an investigation
with respect to the disputed information” it provided; and (3) to “report to the consumer credit
reporting agency the results of that investigation” within 30- business days Cal. Civ. Code

§1785.25(1).

X. FIFTH CLAIM FOR RELIEF
INTENTIONAL INFLICTION ()F EMOTIONAL DISTRESS

79. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set

forth herein.

 

 

 

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Plaintiff’s Verified Complaint

 

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80. Defendant’s acts and/or omissions were done intentionally and/or with gross
indifference to Plaintiff’s rights

81. Plaintiffs emotional distress includes, but is not limited to, extreme
humiliation, anxiety and a loss of sleep. As a result of the Defendant’s conduct, Plaintiff has
suffered compensatory, general, and special damages in an amount according to proof.
Additionally, Defendant acted with malice, fraud and/or oppression, by attempting to take
Plaintiffs property through foreclosure when they have no legal right to do so, and thus,
Plaintiff is entitled to an award of punitive damages

XI. SIXTH CLAIM FOR RELIEF
INJUNCTIVE RELIEF

82. Plaintiff incorporates the allegations in all preceding paragraphs as if fully set

~ forth herein.

83. At all times relevant, Defendant, has wrongfully and unlawfully threatened
Plaintiffs quiet enjoyment and use of her real property. l

84. Defendant threatened conduct, unless and until enjoined and restrained by this
Courtwill cause great and irreparable injury to Plaintiff in that it Plaintiff will be deprived of
the quiet use and enjoyment of her real property.

85. Not only did Defendant threatened conduct cause great and irreparable harm to
Plaintiff unless and until enj oined, that same threatened conduct will cause great and
irreparable harm to Plaintiffs family.

86. In this case, the irreparable harm that Plaintiff will suffer is obvious and
enormous Plaintiff will lose her real property and will be ultimately evicted from her home.
Plaintiff will incur the cost and emotional distress of losing her home and repairing her further

damaged credit history. Undeniably, Plaintiff will suffer severe damages 1

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Plaintiffs Verified Complaint

 

 

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XII. CONCLUSION

Here, Defendant does not have standing or the enforceable right to take possession of
Plaintiffs Property, because of the failure to comply with strict statutory, legal contractual
duties Said action will result in the wrongful foreclosure of the Property. Being that
Defendant is a debt collector the only remedy they are entitled to would be a judicial
foreclosure However, knowing that they would not have to prove standing or the proper
documentation they are attempting foreclosure through non-judicial foreclosure and therby
violating the FDCPA.

Further, Plaintiff is concerned that Defendant and DOES 1-100, unless restrained, will
attempt to remove Plaintiff from the possession of the Subj ect Property by an unlawful
detainer action. Defendants are knowledgeable that any such action would cause irreparable
harm to the Plaintiff, as well as cause monetary compensation which will not afford adequate
relief because Plaintiff’ s property is unique.

Thereby, Plaintiff respectfully request that a temporary restraining order is necessary
to ensure that Plaintiff and her family are not displaced before the court has had an
opportunity to hear, and adjudicate the case as to its merits, and whether or not it can proceed

to a hearing in front of a jury.

REOUEST FOR RELIEF

WHEREFORE, Plaintiff having set forth the claims for relief against Defendant,
respectfully pray that this Court grant the following relief against the Defendant: 7

1. For equitable relief, including an Order for Defendant to rescind all Notice s of
Default against Plaintiff’s account and to engage in reasonable efforts to restore Plaintiff’ s credit

to its previous standing and by entering a statement Which says “Paid as Agreed”;

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Plaintiff’ s Verified Complaint

 

 

 

 

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C_a`;e 2:15-cv-00092-ODW-AGR Document 1 ' Filed 01/06/15 Page 19 of 32 Page |D #:53
1 2. For a temporary and preliminary injunction enjoining Defendant transferring the
Subject Property of or from taking any action to evict Plaintiff from her home during the
pendency of this action;

3. That the Court issue a declaration that the Defendant be required to release the
61 lien on the Subject Property;
7 4. That the Court Order judgment quieting title to Plaintiff as the owner of the

Subject Property and that all Defendants have no title, right to the estate, lien or interest in the

l 0 pI`Op€I`ty;

11 5. That the Court enter a judgment declaring Defendant’s actions and practices

_ 12 complained of herein to be unlawful, unfair, and fraudulent;

13

6. 1 For injunctive relief against Defendants to prevent future wrongful conduct; -
77 7. That Plaintiff recover costs, and reasonable attorney fees, if incurred;
15 '
1 6 8. That Defendant be required to specifically prove all allegations in this action;
117 9 . F or general damages and special damages in an amount to be proven at trial, but

13 not less than $2,000 per Plaintiff, pursuant to 15 U.S.C. 1692(k) a 1;

79 10 . For actual damages including general damages and special damages in an amount
2 0
to be proven at trial, but not less than $1,000 per cross-complainant, pursuant to 15 USC 1692(k)
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22 a 2 a;
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Plaintiff"s Verified Complaint

 

 

 

 

 

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l l. For costs and reasonabic attomcy’s fees pursuant to 15 USC 1692(k) a 3.
12. F'or a judicial declaration pursuant to Code of Civ. Proccdurc 1060 that

Dcfcndant’s actions violated the FDCPA;
13. For Punitivc dainagcs; and
14. For such other and further reiief as the Court may deem just, equitable and propcr.

Datcd: .lanuary 5, 2015

 

 

Anria .Bronstcin ~ Plaintifl"in Pro Se

`D'EM'ANI) F()R TR§AL BY SURY

Plainti ff demands a trial by jury

`Dated: Jam.tary 5_, 2015

 

#:54

 

Anna `Bronstcin - Pia§ntiit";t" in Pro Sc

V ERIF` ICA'I`IO§\11
.l, Anna Bronstcin, acknow¥edge that l am the Plaintiff in tire above-emitted action Tiie
same is true of my own knowledge, except as to those matters which arc therein alicgcd on
information and bclicf, and as to those matters 1 believe them to be ti'lzc.
1 declare under penalty of`pcrjury under the iaws of the State of California that the
foregoing is true and correct

Exccn.tcd at Pasadcna, California. this 5th day of January, 2015.

 

 

Anna Bronstcin ~ Piaintiff in Pro Sc

 

 

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Plaintiff*s Verified Coznpiainr

 

 

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EXH|B|T A
SUB.|ECT PROPERTY LEGAL DESCR|PT|ON

 

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Case 2:15-cv-00092-ODW-AGR Docurne?i`t`l"`|:l`[§d 01706715"|3619€ 22 of 32 Page |D #:56

Exhibit “A.”

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Pmcet A: `

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RECC|RDER OF S.HB CQ\JNW.

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Case 2:15-cv-00092-ODW-AGR Document 1 Filed 01/06/15 Page 23 of 32 Page |D #:57

Exl-nBlT B
LoAN MoDlFchTloN LETTER

 

 

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. 7 Notice of incomplete application
11/21/2014

ANNA M BRONSTEIN
379 W WALNUT ST #49
PASADENA, CA 91103_-3501

RE: Property Address: 379 W WALNUT STREET
` PASADENA. CA 91103
CitiMortgage, |nc. Loan #: 2005547663

Need our help?

Support specialist ROBERT ORCUTT
1-855-843-2549 EXT 0475031

RerRT.-J_oncurT@CrTi.Cor/r
Cusiomer service: 1-800-283-7918

Dear CitiMortgage, |nc. Customer(s),

Pleas'e send the documents required to complete your application
Thank you for submitting your application for mortgage assistance However, your application is incomplete '
because it is missing some required documents which we must receive before we can determine whether or
not you’re eligible for any mortgage assistance program . '

Enclosed is e.lis't df`the`d`c`i"éuni`eni`e' that 'y`ou’ll need t'o provide by 12/22/'2U14.'Hoiivever," if a foreclosure sele'
has already been scheduled We must receive the missing documents at least seven business days before
the scheduled~foreclosure sale date, or you wiil not be eligible for mortgage assistance

What to send

To complete your application please send valid copies of the documents listed on the enclosed Document
Checklist. ' `

`You may also need to update some of the documents you've already provided if they are now expired This
allows ustc be sure we're basing our review on your current financial information F'|e_ese send an updated
copy of any document if it is:

¢ Fast the date thar‘s valid for our review, as Shown below-
OR '
» Past an expiration date listed on the document itself

Document Length of time it’s valid for our review
Paychec|< stub ......................................... . .......... 90 days from the ending date of the pay period shown
Bank statement .................................................. 9.0 days from the statement date
Pension check stub ............................................ _90 days from the ending date of the pay period ShOWn
Hardship affidavit.........__ .................. ‘ ................... 90 days from the document date
lRS Form 4506T ................................ , ................. ‘l 20 days from the date you signed it

v Profit end loss statement....._.....-. ........................ Until _the start of the next quarter

Where to send your information .
Send the required documents to us by regular meil, overnight mai|, emai|, or fax:

ClTlLM?_U<ir_CMi
Pager em secretaries

 

 

 

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Regular mail or overnight mail Fax ' `Emai|

cinMongago, inc. _14366-940_8125 RerRr.J.oRcuTT@ClTl'CO'\/'
1000 Tecnnoiogy onve MS 420 '

o'Faiion, M<:) assoc-2240

if you believe you have already provided the required documents you may let us i<now we’ve sent this
request in error. Please call us or notify us in writing using the address or fax number shown above,`and
respond by 12/22/201a or seven business days before a scheduled foreclosure whichever is sooner.

What to expect - » v

After we receive all the required documents for a complete application, we will complete our review within
30 days and confirm whether or not you're eligible for mortgage assistance ROBERT GRCUTT, your
homeowner support specialist will coordinate our communication with you. Forec|osure activity will cease
while your complete application is being evaluated for mortgage assistance During our review process, we
will let you know if we need any additional information, Please be sure to open any mail you receive from

us and respond right away.

lf. you are approved for loan modification: tf you accept our offer for loan modification,.you will enter 8
trial period of making payments ol_ a modified amountl Gnce you successfully complete the trial period,'we’l|
send you a'permanent modification agreement which will include instructions for signing and returning it to
ustc permanently modify your loan. '

We’re here to help / l ' ' l

|f you have any questionsl or if you are concerned with how we have handled your account, please call
ROBERT ORCUT_T at 1-855-843-2549 EXT 047503'|. Additiona| information is also available from the U.S.
Department of Housing and Urban Deve|opment (HUD). A HUD-approved housing counselor can help you
plaré your--nex~t -stepsr-Ple‘ase~ visit"tlieir“website' at wwv`v.`l‘ii'.rii/Qov!ofnoé's"/hsg`/`§fhfalcon/econ.cfm' or call
1-8 8-995-4673. '

in accordance with federal lllaw, Citilv|ortgage has designated the following address where you can send a
written request for information, a written notice of error, or a qualified written request

CitiMortgage, |nc. v
Attn: Customer R'esearch Team
PO Box 10002 .

Hagerstown, MD 21747-0002

This notice was sent by your homeowner support specialists

»‘?M omni .
RC)BERT ORcuTT

We want to make sure you know

- lf you have other mortgage loans on this.proport_y, you may want.to contact your other lenders to
discuss mortgage assistance options with them as well.

1 ROBERT ORCUTT is available Monday - Th_ursday 7:00 a.m. - 8:00 p.m. CT, Friday '/':00 a.m.» - 5:30
p.m. CT, and Saturday 7;00 a.m. - 4:00 .p`m. CT. Customer service is always available Monday - Fn'day
7':00 a.m. - 9:00 p.m. CT and Saturday 7:00 a.m. - 5:00 p.m. CT. We record all calls and randomly
monitor them to help us ensure quality service

-~ TTY Services available: Dial 71'1 from the United States; D|al 1-866-280~2050 from Puerto Rico.

Hours of operation provided reflect general hours for the department '
if responding through e-mail, please do not include confidential information E-lVlail communication is
W randome monitored to ensure quality service '

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Page2 of 4 EE‘HEBULEB

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¢ lf an attorney represents you please refer this letter to our ` ' ’
, attorne d rov de t
;:me, address and telephone number. y y an p l us th the at Omey 5
~ e purpose of this communication is an attem tto c ll ct ' f ` ‘ ' '
used for that purpose' p n o e a demand any m ormat:on obtained wxll be
» TO THE EXTENT YOUR OBLlGATlON HAS BEEN DlSCHARGED OR l$ SUBJECT TO AN
AUTOMAT|C STAY OF A BANKRUPTCY ORDI'§R UNDER TlTLE 11 QF THE UN|TED STATES
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Page 3 of 4 aaqlaanlaa

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Case 2:15-Cv-00092-ODW-AGR Document 1 Filed 01/06/15 Page 27 of 32 Page |D #:61

ANNA M BRONSTElN
A<:count No. 2005547663

_Documentation .Cheok|ist

Step lt Complete, Sign, land Date the Enclosed Forms if enclosed in your packet
Step 2: Continue to Make Your Cunent Mortgage Payment

Siep 32 Co|loct the documentation required for your mortgage solution listed in the checklist below

l:l Legible copies of Ll_ast 2 Months Business Bank Statements for borrower

ll Legible copy of Homeowner's insurance Po|icy Declaration Page _
[:l Legible copy of 2 months of Bank Statements that Reflect the Rental Deposit for Borrower

l] Legible copy of Most Recent Quarlerly or Year-to‘Date Profit end Loss Statement for Borrower

ClT|LM2047 CM|

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EXHIBIT C
NOT|CE OF TRUSTEE SALE

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Case 2:‘15-cv-00092-ODW-AGR Document 1 Filed 01/06/15 Page 29 of ’32 Page |D #:63

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411 ivy street o Smt Di@go, cA 92101 - 619.645.7711
December 05, 2014

ANNA M BRONS'I`E!N
379 W. WALNUT ST.R»EET
PASADENA, CA 91 103

RE: Notice of Postponement of Truste'e's Sale
Tr'ustce's Sale Number: C~A-l l~466370-AB
Property_Address: 379 W. WALNU'I` S'I`R`EE`T, PASADENA, CA 91103

You are hereby notified that the Trnstee's Sale listed above has been postponed from lZfl§/ZOM to
trio/2015 at 9;00 AM, _ l ___________

lt is important that you monitor all san activity and attend the' sale to protect your _intcrcst. The salel may
be conducted `witliout further notification -

You can obtain information about postponements of the Trusteo's Salo listed above by calling 714-573-
l.965 or visiting hi ://www. u’alitvloan.co:m, using the file number assigned to this foreclosure by the
'l`rustoe: CA-l.1-46`6370~AB and»by accepting the terms and conditions for usc of` those rcsources. You
should personally attend.the sale to verify current status.

    

UNLESS Y()U TAKE ACTION TO PROTECT YOUR PROPERTY, .I'I` MAY BE SOLD AT A
PUBLIC SALE. IF YOU NEED .AN EXPLANAT[ON OF THE NATURE OF THE
PROCEEDING ACA[NST YOU., YOU SHOULU CONTACT A LAWYER.

QUALITY MAY BE CONSIDERED A DEBT COLLECT()R A'I`TEMPTING 'I`O COLLEC'!` A
DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR`THAT PURPOSE.

Quality Loan Service Corporation

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C|VlL COVER SHEET
l. (a) PLA|NT|FFS ( Check box if you are representing yourself ) DEFENDANTS ( Check box if you are representing yourself |:| )
ANNA BRONSTE|N ClT|MORTGAGE, |NC.
(b) County of Residence.of First Listed Plaintiff LOS ANGELES County of Residence of First Listed Defendant New York
(EXCEPTIN U.S. PLAlNTIFF CASES) n (lN U.S PLAINTIFF CASES ONLY)
(c) Attorneys (Firm Name, Address and Te/ephone Number) if you are Attorneys (Firm Name, Address and Telephone Number) |f you are
representing yourse|f, provide the same information. representing yourse|f, provide the same information
379 W. WALNUT STREET ~ ' 1000 TECHNOLOGY DR|VE
PASADENA, CA 91103 O'FALLON, MO 63368
626-344-8450 800-667~8424
ll. BAS|S OF JUR|SD|CTlON (Place an X in one box On|y_) lll. ClTlZENSH|P OF PR|NC|PAL PARTlES-For Diversity Cases On|y
(Place an X in one box for plaintiffand one for defendant)
PTF DEF PTF DEF
1. U.S. Government . -.3 Federal Question (U. S Citizen OfThiS State 1 1:1 1 |nCOFP_OFate_d Of _Prin€ipa| P|aC@ 1:1 4 1:1 4
Plaintiff Government Not a Party) °f Bus'"ess m th'$ State
1 Citizen of Another State [:| 2 |:| 2 incorporated and Prlncipa| P|ace I:] 5 5
2 U S G 4 D (| d C h of Business in AnotherState
. . . overnment |:1 iversity n icate ltizens lp Citizen or Subject ofa F . N t. 6

Defendant of Parties in item I||) FOr€iQn COUntry |:| 3 |:| 3 Ore|gn a lon E m 6
|V. OR|G|N (P|ace an X in one box only.) 6 Mum

1. Original 2. Removed from 3. Remanded from 4. Reinstated or S.Transferred from Another `D- t -_t
|:| Appe|late Court |:| Reopened |:| District (SP€Cifl/) l:l Litig;tri|<§n

Proceeding State Court

 

V. REQUESTED lN COMPLA|NT: JURY DEMAND: YeS |:| NO (Ch€Ck "YeS" On|y if demanded in Complaint~)

CLASS ACT|ON under F.R.CV.P. 23: |:|Yes No |:] MONEY DEMANDED lN COMPLA|NT: 5 1,000,000.00

. Vl.'CAUSE OF ACT|ON (Cite the U.S. Civil Statute under Which you are filing and write a brief statement of cause. Do not citejurisdictiona| statutes unless diversity.)
15 USC1692, 15 USC1681, ROSENTHAL ACT

 

 

V|I. NATURE OF SU|T (Place an X m one box on|y).

     

    
 
  

  
 
 
  

   

 

 

 

 

   
   

       
   

     

 

 

 

 

 

 

 

  

 

 

   

|:] 375 False Claims Act l:l Holnsurance 240 T0rt$ to Land 1:1 :;;:;l:;g;::ization Habeas CorPus: [:| 820 Copyrights
1:1 400 State 1:1 120 Marine 2451'0rt Product |:1 463 A|iel'»\ D_etainee |:1 830 Patent
R€apPOff'Onmem L'ab"'tv [:| 465 other 1:| 510 Mouonsto vacate
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ommerce 1
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LOan(EXC|-Vet-) f ' ` “UPTCY 1 Confinement ’ ’ '
- v 1 v '. _ . , 870Taxes(U.S.P|amt1ffor
850 securities/coni- f |:l 340 Ma'f“e 4"22 Appea| 28 ;z'FonFelruRE/_PENAL; 55 |:l Defendant)
|:] d' ' h 153 Recovery 0 345 Manne Product [:] -------___
mo 't'eS/EXC ange . |:| Overpayment of \:l liability USC 153 62_5 Drug Related [:| 871 |RS -Third Party 26 USC
1:| 890 Other$tatutory Vet. Benefits ' 423W11hdrawa| 28 m Selzure of Property 21 7609
, Actions 160 Stockho|ders, |:\ 350 MotorVehic|e l:l USC 157 USC 881
891 A ricultura| Acts |-_-] Suits 355 Moto_rVenicle l 1¢_~“‘]1'1'~ R\GHT - » |:] 690 Other
g ' |:| Product Liabi|lty --_‘-_---'--_-
893 Environmental 190 Other [:] 440 OtherCivi| Rights 5: L'ABOR , ,
l:l Matters [:| Contract l:l 360 Otherpersona| m ‘ 1:1 710 Fair LaborStandards
injury 441 Voting
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Agency Decision Condemnation Persona| lnjury Emp|°yment _
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|:] State Statutes Ejectment :::zj(:jr§ LE};[:i|B/ty I:| 448 Educatlon I:| Security Act
FOR OFF|CE USE ONLY: Case Number: n
CV-71 (10/14) w CIVIL COVERS EET Page1 °f3

 

 

 

 

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ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division ofthe Court to which this case will be initially assigned. Thisinitiai assignment is subject
to change, in accordance with the Court's Generai Orders, upon review by the Court of your Complaint or Notice of Removal.

QUEST|ON A: Was this case removed '
from state court?

 

 

 

 

 

I:| Yes No ¢ t , , 11 . 11
_ |:| Los Angeies, Ventura, Santa Barbara, or San Luis Obispo Western
|f "no, " skip to Question B. if "yes," check the l
box to the right that applies, enter the l:l Orange Southern
corresponding division in response to ' ' l
Question E, below, and continue from there. l:l R'Vers'de or San Bernard'r‘° Eastern

 

QuEsTloN B: ls the United States' °r B'1‘ D° 50% or more °r the defendants Wh° reside in YES. Your case will initially be assigned to the Southern Division.

 

 

 

 

 

 

 

 

Oh€ of its agencies 0\’ employees, a the district reside in Orar‘ge C°'? [:l Enter "Southern“ in response to Question E, below, and continue
PLA|NT|FF in this action? l from there.
check one of the boxes to the rlght *
|:| Yes NO |:| NO. Continue to Question B.2.
if ,,no ,, Ski to Question C if ,, es ,, answer B‘z' P° so% °_r mere_°r the defendants Who reside ir‘ YES. Your case will initially be assigned to the Eastern Division.
'. p . ' y ' the d'str'et res'de 'n R'Vers'de and/dr San Berr‘ard'r‘° [:| Enter "Eastern" in response to Question E, below, and continue
Question B-l, at right Countles? (Consider the two countles together.) from there
check one ofthe boxes to the right NO. Your case will initially be assigned to the Western Division.
, ' |:| Enter "Western" in response to Question E, belowl and continue
from there.
QUEST|ON C: ls the United States, or C:1. .Do 50% or more of the?plaintiffs who reside in the YES' Your case will initially be assigned to th'e Southern Division_
one of its agencles or employees, a d'$tr'er res'de m Orange C°" l:| Enter "Southern“ in response to Question E, below, and continue
DEFENDANT in this action? , _* from there.
check one of the boxes to the rlght
l:| Yes NO |:| NO. Continue to Question C.2.
if ,,no ,, Ski to Ques`tioh D if,, es ,, answer C_'z' _D° sd% er m_°re dr the plaintiffs Wh° reside in the YES. Your case will initially be assigned to the Eastern Division.
'. p . ' y ' d'str'cr res'de m '_R'Vers'de and/or Ser‘ Bemard'r‘° |:| Enter "Eastern" in response to Question E, below, and continue
QU€SUOH C-l , at right Countles? (Conslder the two countles together.) from there
check one ofthe boxes to the right =* NO. Your case will initially be assigned to the Western Division.
|:| Enter "Western" in response to Question E, below, and continue
from there. '

 

 

 
  
 

 
  

v vIE$.._:’?; y
R1vers1de or San

Q`U{EST|,Ohl D: litigation of:p|:in.t`iff`s“and`defen _, nts? Bernaidinq coil/lily

   

 

  
   
 
 
 
 

indicate the iocation(s) m which 50% or more of plalntlffs who reside m this district
reside. (Check up to two boxes, or leave blank if none ofthese choices apply.)

 

indicate the iocation(s) 1n which 50% or more of defendants who reside 1n this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply )'v

 
   

D.1. is there at least one answer in Co|umn A? D.2. is there at least one answer in Co|umn B?
n m Yes No l:l Yes No
if "yes," your case will initially be assigned to the l if "yes," your case will initially be assigned to the
SOUTHERN DlVlSlON. EASTERN DlVlS|ON.
Enter "Southern“ in response to Question E, below, and continue from there. Enter "Eastern" in response to Question E, below.
if "no," go to question D2 to the right. -I} lf "no," your case will be assigned to the WESTERN DlVlS|ON.

Enter "Western" in response to Question E, below.

     

b l\:lli`lAL DlVlSlON lN C_ACD

   

lON E'inltialDivisi¢)hw5 1 , w
Enterthe initial division determined by Question A, B, C, or D above: _) WESTERN
' QuesnoN F: Nonhem counties?

Do 50% or more of plaintiffs or defendants' 1n this district reside 1n Ventura, Santa barbara, or San Luis Obispo counties? Yes |:| No 1

     

 

 

 

 

     

 

 

 

 

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case 2:15-cv-0009211<11ewsree Demmta,&ieemieeea oemaatmez Page 10 #:66

ClVlL COVER SHEET

lX(a). lDENT|CAL CASES: Has this action been previously filed in this court? NO

if yes, list case number(s):

g YEs

 

lX(b). RELATED CASES: is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
' NO

if yes, list case number(s):

[1 YEs

 

Civil cases are related when they (check all that apply):
:l A. Arise from the same or a closely related transaction, happening, or event;
l:l B. Call for determination ofthe same or substantially related or similar questions of law and fact; or

l:| C. For other reasons would entail substantial duplication oflabor if heard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficientto deem cases related.

A civil forfeiture case land a criminal case are related when they (check all that apply):
l:| A. Arise from the same or a closely related transaction, happening, or event;

|:| B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by differentjudges.

“’T

x. s1GNATuRE oF ATToRNEY ` M . /5.// _
1011 sELF-REPRESENTED LlTlGANT): ' ~ DATE1 // l / 5

 

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For

more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation _ Substantive Statement of Cause of Action

Ail claims for health insurance benefits (i\/iedicare) under Title 18, Part A, of the Social Security Act, as amended A|so,

851 HlA include claims by hospitals, skilled nursing facilities, etc., forcertification as providers of services under the program.
(42 U.S.C. 1935FF(b))

862 BL Ail claims for "Black Lung" benefits underTitle 4, Part B, of the Federal Coal Mine Health and Safety Act of1969. (30 U.S.C.
923)

863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DlWW Ail claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as"
amended. (42 U.S.C. 405 (g))
Ail claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

864 SS|D amended

865 s RS| Ail claims for retirement (oid age) and survivors benefits under Title 2 ofthe Social Security Act, as amended.

142 u.s.c. 405 (g))

 

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